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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

 AARON SIEGEL;                                     )
                                                   )
 JASON COOK;                                       )
                                                   )
 JOSEPH DELUCA;                                    )
                                                   )
 NICOLE CUOZZO;                                    )
                                                   )
 TIMOTHY VARGA;                                    )
                                                   )
 CHRISTOPHER STAMOS;                               )
                                                   ) Civil Action No. 1:22-cv-07463-KMW-AMD
 KIM HENRY; and                                    )
                                                   )
 ASSOCIATION OF NEW JERSEY RIFLE                   )
 & PISTOL CLUBS, INC.,                             )
                                                   )
                                                   )
                                                   )
                        Plaintiffs,                )
                                                   )
        v.                                         )
 MATTHEW PLATKIN, in his official                  )
 capacity as Attorney General of New Jersey,       )
                                                   )
 PATRICK J. CALLAHAN, in his official              )
 capacity as Superintendent of the New Jersey      )
 Division of State Police,                         )
                                                   )
                                                   )
                        Defendants.                )
                                                   )

               ORDER GRANTING TEMPORARY RESTRAINING ORDER

        THIS MATTER having been opened to the Court upon the application of Hartman &

 Winnicki, P.C., attorneys for Plaintiffs, for a temporary restraining order pursuant to Fed. R. Civ.

 P. 65 enjoining the operation and effect of certain portions of New Jersey Assembly Bill No.

 A4769 as signed into law on December 22, 2022 (“A4769”) and other provisions of New Jersey
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 law; and the Court having considered the submissions of counsel; and for good cause having been

 shown;

          IT IS on this ___ day of __________, 2022, ORDERED AS FOLLOWS:

          1.    Plaintiffs’ Motion for a temporary restraining order is hereby granted in its entirety

 and without bond;

          2.    Until further order of this Court, Defendants, their officers, agents, servants,

 employees, and attorneys, and other persons who are in active concert or participation with the

 foregoing are temporarily restrained from enforcing the following provisions of law, and until

 further order of the Court the following provisions of law shall be of no force and effect:

                     a) Any prohibition in A4769 Section 7(a) which prohibits the carry of a
                        firearm in a place not listed in Section 7(a) but where carry of a firearm is
                        prohibited in that place because the place is located on the same parcel of
                        property as a place listed in Section 7(a);

                     b) Any prohibition in N.J.S. 2C:39-5(e) which prohibits the carry of a firearm
                        in a place not listed in N.J.S. 2C:39-(e) but where carry of a firearm is
                        prohibited in that place because the place is located on the same parcel of
                        property as a place listed in N.J.S. 2C:39-5(e);

                     c) A4769 Section 7(a)(6);

                     d) A4769 Section 7(a)(9) to the extent it prohibits carry of a firearm at a zoo;

                     e) A4769 Section 7(a)(10);

                     f) N.J.A.C. 7:2–2.17(b)

                     g) A4769 Section 7(a)(11);

                     h) A4769 Section 7(a)(12);

                     i) A4769 Section 7(a)(15);

                     j) A4769 Section 7(a)(17);

                     k) A4769 Section 7(a)(18);




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                l) N.J.A.C. 13:69D–1.13

                m) A4769 Section 7(a)(20), except to the extent it prohibits the carry of a
                   firearm inside of Transportation Security Administration security
                   checkpoints;

                n) A4769 Section 7(a)(21);

                o) A4769 Section 7(a)(22);

                p) A4769 Section 7(a)(23);

                q) A4769 Section 7(a)(24);

                r) A4769 Section 7(a)(25) to the extent it conflicts with anything herein;

                s) A4769 Section 7(b)(1);

                t) N.J.A.C. 7:25–5.23(m);

                u) N.J.A.C. 7:25–5.23(i);

                v) N.J.A.C. 7:25–5.23(a), (c), and (f) to the extent they restrict the type of
                   ammunition a person may possess while in the woods, fields, marshlands,
                   or on the water, or while hunting various game;

                w) N.J.A.C. 7:25–5.23(f)(5);




                                                         ______________________________
                                                         KAREN M. WILLIAMS, U.S.D.J.




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